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                      IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
10
11   JULIE A. SU,                                 Case No. 2:24-cv-04507-MCS-SK
12   Acting Secretary of Labor, United States
13
     Department of Labor
                                                  CONSENT JUDGMENT AND
14                                                PERMANENT INJUNCTION
                                    Plaintiff,
                 v.                               AGAINST DEFENDANTS A&J
15
                                                  MEATS, PRISCILLA HELEN
16   A&J MEATS, a corporation; PRISCILLA          CASTILLO, OLIMPIA BRAN,
     HELEN CASTILLO, an individual;               O’BRAN LEASING COMPANY
17
     OLIMPIA BRAN, an individual;                 AND THE RIGHT HIRE, INC.
18   O’BRAN LEASING COMPANY, a                    (ECF No. 3)
19   company; and THE RIGHT HIRE, INC.,
                                                  Hon. Mark C. Scarsi, United States
     a corporation,
20                                                District Judge
21                               Defendants.
22
23
           Plaintiff Julie A. Su, Acting Secretary of Labor, United States Department of
24
     Labor, and Defendants A&J Meats, Priscilla Helen Castillo, Olimpia Bran, and
25
     O’Bran Leasing Company (collectively referred to hereinafter as the “A&J
26
     Defendants”) and Defendant The Right Hire, Inc. (hereinafter “The Right Hire”)
27
28    CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
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 1   (the A&J Defendants and Defendant The Right Hire are collectively referred to
 2   hereinafter as “Defendants”, and Plaintiff and Defendants are collectively referred
 3   to hereinafter as the “Parties”) have agreed to resolve the matters in controversy in
 4   this civil action and agree to the entry of this Consent Judgment and Permanent
 5   Injunction (“Consent Judgment”) as provided below.
 6         STATEMENTS BY AND AGREEMENTS BETWEEN THE PARTIES
 7          A.     The Acting Secretary filed her Complaint in the above-captioned
 8   proceeding, naming Defendants and alleging violations of Sections 12(c), and
 9   15(a)(4) of the FLSA, 29 U.S.C. §§ 212(c), 215(a)(4).
10          B.     Defendants have retained counsel and acknowledge receipt of a copy
11   of the Acting Secretary’s Complaint in this action.
12          C.     Defendants waive issuance and service of process of the Complaint
13   and their respective summonses and waive their response to the Acting Secretary’s
14   Complaint.
15          D.     Defendants admit that the Court has jurisdiction over the Parties and
16   the subject matter of this civil action, and that venue lies in the Central District of
17   California.
18          E.     The Parties agree to waive findings of fact and conclusions of law and
19   agree to the entry of this Consent Judgment without further contest.
20          F.     Defendants agree herein to resolve all allegations of the Acting
21   Secretary’s Complaint.
22          G.     Defendants admit that at all relevant times, they employed employees,
23   including deboner, packer, cleaner, and other employees, who processed poultry
24   and meat at the poultry and meat processing facility located at 15268 Proctor Ave,
25   Suite A, City of Industry, California 91745.
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28
      CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
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 1         H.     Defendants represent that they and all individuals and entities acting
 2   on their behalf or at their direction have notice of, and understand, the provisions
 3   of this Consent Judgment.
 4         I.     Defendants acknowledge that violating any provision of this Consent
 5   Judgment and Permanent Injunction may subject them to fines and penalties,
 6   including punitive damages, heightened civil monetary penalties, or contempt.
 7                              PERMANENT INJUNCTION
 8         Pursuant to the statements and agreements above, upon joint motion of the
 9   attorneys for the Parties, and for cause shown,
10         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that,
11   pursuant to Section 17 of the FLSA, 29 U.S.C. § 217, and the inherent authority of
12   the Court, Defendants, their agents (including any entities contracted to provide
13   labor or payroll services), officers, servants, employees, companies, and all persons
14   and entities acting at their direction or in concert or participation with their
15   direction, are permanently enjoined and restrained from violating the FLSA,
16   including through any of the following manners:
17         1.     Contrary to Sections 6 and 15(a)(2) of the FLSA, paying any of their
18   employees who in any workweek are engaged in commerce or in the production of
19   goods for commerce or who are employed in an enterprise engaged in commerce
20   within the meaning of the FLSA, wages at a rate less than the local prevailing
21   minimum wage, which cannot be less than $7.25 per hour (or at a rate less than
22   such other applicable minimum rate as may hereafter be established by amendment
23   to the FLSA).
24         2.     Contrary to Sections 7 and 15(a)(2) of the FLSA, paying any of their
25   employees who in any workweek are engaged in commerce or in the production of
26   goods for commerce or who are employed in an enterprise engaged in commerce
27   within the meaning of the FLSA, less than one and half times the particular
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 1   employee’s regular hourly rate for hours worked in excess of 40 hours in a
 2   workweek.
 3         3.     Contrary to Sections 11(c) and 15(a)(5) of the FLSA, failing to make,
 4   keep, and preserve records of their employees and of the wages, hours and other
 5   conditions and practices of employment maintained by them, as prescribed by the
 6   regulations issued, and from time to time amended, pursuant to Section 11(c) of the
 7   FLSA and found in 29 C.F.R. Part 516, including for each employee, the hours
 8   worked each day and each workweek, the employee’s regular hourly rate of pay,
 9   total daily or weekly straight time earnings, overtime rate of pay, total premium
10   pay for overtime hours and identification of each deduction made from the
11   employee’s earnings along with a description of the basis/reason and method of
12   calculation of the deduction.
13         4.     Contrary to Section 11(a) of the FLSA, interfering or obstructing any
14   investigation of the Acting Secretary, including by directing employees not to
15   speak to the Acting Secretary or her representatives and/or otherwise deterring
16   them from cooperating in any investigation of the Acting Secretary through threats
17   and intimidation.
18         5.     Contrary to Section 15(a)(3) of the FLSA, engaging in any retaliatory
19   action, such as discharging or in any other manner discriminating against any
20   employee because such employee has filed any complaint or instituted or caused to
21   be instituted any proceeding under the FLSA, has testified or is about to testify in
22   any such proceeding, or has otherwise exercised their rights under the FLSA by,
23   among other things, testifying or otherwise reporting information to the Acting
24   Secretary, or questioning whether the employer is paying the employee in
25   compliance with prevailing law. Prohibited discriminatory and retaliatory actions
26   include telling employees that communication with the Acting Secretary will result
27   in immigration, legal, criminal or other action against them and/or otherwise
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 1   deterring employees from cooperating with or speaking to the Acting Secretary’s
 2   representatives through threats, bribes or intimidation. Other prohibited
 3   discriminatory and retaliatory acts include but are not necessarily limited to:
 4   termination; discharge; layoffs; threats of termination, discharge or lay off;
 5   reverifying the employment eligibility of an employee Defendants unlawfully
 6   terminated; reduction to employees’ work schedules or wages; intimidation; failure
 7   to hire; and providing negative references.
 8         6.     Contrary to Sections 12(c) and 15(a)(4) of the FLSA, 29 U.S.C. §§
 9   212(c) and 215(a)(4), employing minor children in occupations for periods and
10   under conditions which constitute oppressive child labor in an enterprise engaged
11   in commerce or in the production of goods for commerce, including:
12                a.     suffering or permitting to work any person under the age of 16
13   years in violation of 29 C.F.R. § 570.35, including by requiring such persons to
14   work more than 40 hours in any 1 week when school is not in session; work more
15   than 18 hours in any 1 week when school is in session; work more than 8 hours in
16   any 1 day when school is not in session; work more than 4 hours in any 1 day
17   when school is in session, including Fridays; and work between 7:00 a.m. and 7:00
18   p.m. in any 1 day, except during the summer (June 1 through Labor Day) when the
19   evening hour will be 9:00 p.m.;
20                b.     suffering or permitting to work any person under the age of 16
21   years in an occupation prohibited by 29 C.F.R. § 570.33, including but not limited
22   to: work in freezers and meat coolers and all work in the preparation of meat for
23   sale except as permitted by 29 C.F.R. § 570.34(j) and occupations that the
24   Secretary of Labor, may, pursuant to section 3(l) of the FLSA, find and declare to
25   be hazardous for the employment of minors between 16 and 18 years of age or
26   detrimental to their health or well-being such as occupations in or about
27   slaughtering and meat packing establishments; and
28
      CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
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 1                 c.    suffering or permitting to work any person under the age of 18
 2   years in any hazardous occupation prohibited by 29 C.F.R. § 570.61 and 29 C.F.R.
 3   § 570.58, including but not limited to all deboning occupations and all occupations
 4   involved in the operation of power-driven hoisting apparatus such as forklifts or
 5   other high-lifts.
 6          7.     Contrary to Section 12(a) of the FLSA, shipping or delivering for
 7   shipment in commerce any goods produced in an establishment in the United
 8   States in or about which within thirty days prior to the removal of such goods
 9   therefrom any oppressive child labor has been employed.
10          8.     Contrary to Section 15(a)(1) of the FLSA, transporting, offering for
11   transportation, shipping, delivering, or selling in commerce, and/or shipping,
12   delivering, or selling with knowledge that shipment or delivery or sale thereof in
13   commerce is intended, any goods that have been processed and/or produced by any
14   employee whom Defendants failed to pay the federal minimum wage or the
15   overtime premium rate for hours worked over forty in the workweek.
16          9.     Requesting, soliciting, suggesting, or coercing, directly, or indirectly,
17   any employee to return or to offer to return to Defendants or to someone else for
18   Defendants, any money in the form of cash, check, or any other form, for wages
19   previously due or to become due in the future, or other forms of monetary damages
20   or relief, to said employee under the provisions of this Consent Judgment, or the
21   FLSA; or accepting or receiving from any employee, either directly or indirectly,
22   any money in the form of cash, check, or any other form, for wages or monetary
23   damages heretofore or hereafter paid to the employee under the provisions of this
24   Consent Judgment or the FLSA.
25          IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that,
26   pursuant to Section 17 of the FLSA, 29 U.S.C. § 217, and the inherent authority of
27   the Court, Defendants, their agents, officers, servants, employees, companies, and
28
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 1   all persons and entities acting at their direction or in concert or participation with
 2   their direction, shall take the following affirmative actions:
 3         10.    Within ten (10) days of the date of entry of this Consent Judgment, the
 4   A&J Defendants shall, for a period of four (4) years, do the following:
 5                a.     provide the Acting Secretary with the name of any business(es)
 6   they operate, use, or lease property to which produces (as defined by 29 U.S.C. §
 7   203(j) and 29 C.F.R. § 570.108) poultry or meat, or which sells or delivers poultry
 8   or meat;
 9                b.     provide the Acting Secretary with the names of any poultry or
10   meat processing company any Defendant has retained to produce (as defined in 29
11   U.S.C. § 203(j) and 29 C.F.R. § 570.108) poultry or meat, or which sells or
12   delivers poultry or meat, and include the company name, contact person, telephone
13   number, and business address of each company;
14                c.     provide to the Acting Secretary all addresses for any location at
15   which they are processing poultry or meat, or engaged in any work related to the
16   processing, sale, or delivery of poultry or meat;
17                d.     notify the Acting Secretary of any third-party entities, including
18   contractors, that are providing staffing services to Defendants, with an explanation
19   of the services being provided, and to provide the Acting Secretary with a copy of
20   any contract(s) entered into with such entities; and
21                e.     provide the Acting Secretary with Defendants’ address,
22   telephone number, and email address, where they agree to be contacted for
23   purposes of communicating about and carrying out the provisions of this Consent
24   Judgment.
25         11.    For a period of four (4) years from the date of entry of this Consent
26   Judgment, the A&J Defendants must immediately notify and inform the Acting
27   Secretary of any change to any of the information they previously provided to the
28
      CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
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 1   Acting Secretary as required in Paragraph 10 above, including changes to their
 2   business name or corporate form, the location where they operate, and the retention
 3   or allowance of any other business or entity to manage employees or process
 4   poultry or meat for them or at their facilities. The A&J Defendants shall notify the
 5   Acting Secretary of any such changes no later than three (3) business days after
 6   such changes have taken effect.
 7             12.   Defendants shall inform the Acting Secretary of any changes to their
 8   contact information. Defendants shall notify the Acting Secretary of any such
 9   changes no later than three (3) business days after any such changes have taken
10   effect.
11             13.   Within ten (10) days of the date of entry of this Consent Judgment,
12   Defendants shall send a package consisting of a copy of the Notice of Rights
13   attached hereto as Exhibit 1, followed in sequence by a copy of this Consent
14   Judgment, to all current employees or employees of any poultry or meat processing
15   company operating at 15268 Proctor Ave, Suite A, City of Industry, California
16   91745, and in a language that they understand, and post this Consent Judgment and
17   Notice of Rights in such languages in a location or locations visible to all
18   employees, including the entrance to the workplace, any break areas, and in the
19   primary workroom. Within three (3) days of posting the package in the worksite,
20   Defendants shall send photographs to a Wage and Hour representative
21   demonstrating that this provision has been adhered to.
22             14.   For a period of at least four (4) years from the date of entry of this
23   Consent Judgment, Defendants shall ensure that a copy of this Consent Judgment
24   and Exhibit 1 is provided to the following persons or entities and in a language
25   understood by the recipient as follows:
26                   a.    all future employees upon their retention who are hired or
27   rehired at any poultry or meat processing facility owned, operated, or controlled by
28
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 1   any Defendant including the facility located at 15268 Proctor Ave, Suite A, City of
 2   Industry, California 91745 following the entry of this Consent Judgment;
 3                b.     all persons to whom they offer employment at any poultry or
 4   meat processing facility owned, operated, or controlled by any Defendant
 5   including the facility located at 15268 Proctor Ave, Suite A, City of Industry,
 6   California 91745;
 7                c.     all persons or entities providing labor or payroll services to
 8   Defendants or their business operations for any poultry or meat processing facility
 9   owned, operated, or controlled by any Defendant including the facility located at
10   15268 Proctor Ave, Suite A, City of Industry, California 91745;
11                d.     all businesses and workers processing poultry or meat at any
12   poultry or meat processing facility owned, operated, or controlled by any
13   Defendant including the facility located at 15268 Proctor Ave, Suite A, City of
14   Industry, California 91745; and
15                e.     any individual or entity responsible for hiring, firing,
16   supervising, paying, or otherwise managing Defendants’ employees at any poultry
17   or meat processing facility owned, operated, or controlled by any Defendant
18   including the facility located at 15268 Proctor Ave, Suite A, City of Industry,
19   California 91745.
20         15.    Within thirty (30) days of entry of this Consent Judgment, Defendants
21   shall provide FLSA training to all managers and supervisors addressing, at a
22   minimum, the FLSA provisions governing minimum wage, overtime,
23   recordkeeping, child labor, anti-retaliation, and interference. Defendants shall pay
24   an independent third-party contractor, who is not involved in this litigation and is
25   approved by a representative of the Acting Secretary, to conduct this training. A
26   contractor will not be considered independent if it is related to Defendants on the
27   date of this Consent Judgment or represents Defendants involved in this action in
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      CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
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 1    any dealings with other parties or the Department of Labor. The training shall be
 2    for one session of not less than one hour with an opportunity for questions and
 3    answers. Any contractor must make reasonable efforts to communicate with
 4    Defendants’ employees in languages with which the employees are comfortable, or
 5    if the situation requires, the contractor will hire an interpreter as dictated by a
 6    particular employee’s circumstances. Defendants shall provide the Acting
 7    Secretary seven days’ notice in advance of the training and permit the Acting
 8    Secretary’s representative to attend the training. Defendants shall provide proof
 9    that this training has occurred within seven (7) days of completing this required
10    training. Defendants shall provide the FLSA training required under this Paragraph
11    on an annual basis for a period of at least four (4) years.
12          16.    For a period of six (6) months from entry of this Consent Judgment,
13    Defendants shall not terminate, fire, layoff, or furlough any employee, including
14    employees involved in processing poultry or meat, such as deboners, packers,
15    cleaners, or others, or participate in the termination, firing, layoff, or furloughing in
16    any manner of employees involved in the processing of poultry or meat, without
17    first giving the employee and the Acting Secretary notice at least seven (7) days
18    prior to such action describing who is being terminated, fired, laid off, or
19    furloughed, and the non-retaliatory business justification for doing so.
20          17.    For every employee laid off or terminated between March 1, 2024 and
21    the date that this Consent Judgment is entered, Defendants shall only provide
22    neutral references for all employees, including employees involved in the
23    processing of poultry or meat, such as deboners, packers, cleaners, or others, upon
24    request from any subsequent employer or any third party, by only providing the
25    dates of the employment and job title of position held; no reference shall be made
26    to any employment law proceedings.
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 1          18.    For a period of four (4) years from the date of entry of this Consent
 2    Judgment, Defendants shall allow the Acting Secretary, its representatives, or
 3    agents to enter any location where any Defendants are processing, producing,
 4    shipping, or delivering for shipment any poultry or meat to provide a one-hour
 5    FLSA Notice of Rights training to all nonmanagerial employees of Defendants or
 6    Defendants’ lessees, and/or to freely speak to employees about Defendants’
 7    compliance with this Consent Judgment and the FLSA. Defendants will tell
 8    employees that they can stop working during this training and Defendants will
 9    compensate employees for their time attending this training. The Acting Secretary
10    or its representatives shall be authorized to enter these locations four-times per
11    year to provide the training and speak with employes and shall be permitted to
12    return as necessary to train any employees who may have been absent. Further, to
13    the extent any Defendant is leasing property to an employer engaged in poultry or
14    meat processing operations, Defendant shall, as a condition of the lease, require
15    that their lessee agree to the terms of this Paragraph.
16          19.    For a period of four (4) years from the date of entry of the Consent
17    Judgment, Defendants shall post signs that are at least three (3) feet long and three
18    (3) feet high at the entrances of any poultry or meat processing facilities in which
19    they operate or that they own, operate, control, or lease to other entities in English,
20    Spanish, and the Guatemalan languages of Qeqchi, and Mam, and in a manner that
21    is conspicuous and visible to all employees and the public, stating that no one
22    under the age of 18 is allowed to work at the facility or engage in deboning work,
23    work in a meat cooler, or operate power driven machinery.
24          20.    With respect to any person who worked at the poultry processing
25    facilities located at 15268 Proctor Ave., Suite A, City of Industry, CA 91745 or
26    218 S. 8th Ave., La Puente, CA 91746 which were owned and/or operated by The
27    Exclusive Poultry Inc., Valtierra Poultry LLC, Meza Poultry LLC, or Tony Bran,
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 1    and who were laid off, fired, or terminated on or after September 28, 2023,
 2    Defendants shall give a hiring preference to such persons to the extent there are
 3    positions available at any entity that produces poultry or meat that Defendants
 4    process or sell. A “hiring preference” means that any available openings will be
 5    offered to these employees first before the positions are filled by other employees.
 6    In providing an offer, Defendants shall keep the offer open for at least seven (7)
 7    calendar days. Within ten (10) days of the entry of this Consent Judgment, and on a
 8    monthly basis thereafter for one year, Defendants shall provide a report to the
 9    Acting Secretary detailing (1) the offers of employment they have made to these
10    employees under this Consent Judgment, including such employees’ names and
11    contact information; and (2) employees’ acceptances or rejections of such offers.
12    The Acting Secretary shall furnish to Defendants a list of the persons believed to
13    have been laid off, fired, or terminated on or after September 28, 2023 within
14    seven (7) days of execution of this Consent Judgment, which Defendants shall use
15    to enable them to comply with this Paragraph. The Acting Secretary may update
16    the list, as necessary and appropriate, following the seven (7) day period, and any
17    updated list shall become the operative list under this Paragraph.
18          21.    Defendants shall require either a certificate of age pursuant to 29
19    C.F.R. 570 Subpart B or documentary evidence of age that meets the requirements
20    of 29 C.F.R. § 570.7, for any employee if there is any reason to believe that the
21    employee’s age may be below the applicable minimum age for the occupation in
22    which the employee is to be employed. Such certificate or documentary evidence
23    of age should always be obtained where the employee claims to be only 1 or 2
24    years above the applicable minimum age for the occupation in which the employee
25    is to be employed. A certificate or documentary evidence of age shall also be
26    obtained for every employee claiming to be older than 2 years above the applicable
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 1    minimum age if the employee’s physical appearance indicates that this may not be
 2    true.
 3            22.   Within sixty (60) days of signing this Consent Judgment, the A&J
 4    Defendants shall engage, at their own expense, an independent third-party monitor
 5    (“Independent Monitor”) to monitor compliance with the FLSA and the terms of
 6    this Consent Judgment at all facilities where Defendants process poultry or meat or
 7    otherwise operate or perform work. Starting four months after the A&J
 8    Defendants retain the Independent Monitor, the Independent Monitor shall conduct
 9    at least quarterly unannounced visits to monitor Defendants’ worksites, and more
10    frequently if the Independent Monitor or the Acting Secretary determines
11    additional monitoring to be warranted. The Independent Monitor shall be selected
12    from a list of potential monitors provided by the Acting Secretary or as otherwise
13    agreed upon with the Acting Secretary. The monitoring provision shall be in effect
14    for three (3) years from the date of entry of this Consent Judgment.
15                  a.    To ensure Defendants’ compliance with the FLSA and this
16    Consent Judgment, the Independent Monitor must document, at a minimum: notes
17    from employee interviews; the name, address, phone number of each employee
18    performing work at the relevant facility and whether the employee is classified as
19    FLSA exempt, FLSA non-exempt; if the employee is paid based on a daily rate; if
20    the employee is paid in cash or by check; the start and end times of each
21    employee’s work day for every work day during the period covered by the third-
22    party audit; the regular rate of pay for each employee; the gross weekly straight
23    time and overtime wages owed to each employee for each pay period covered by
24    the third-party audit based on the employee’s hours worked and regular rate of pay;
25    and the gross weekly straight time and overtime wages actually paid to each
26    employee for each pay period covered by the third party audit;
27    ///

28
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 1                 b.    The Independent Monitor shall conduct interviews with
 2    workers at the facilities where Defendants process poultry or meat or otherwise
 3    perform work. Such interviews and other communications between workers and
 4    the Independent Monitor may be kept confidential (except to authorized
 5    representatives of the U.S. Department of Labor) at the option of each worker and
 6    copies of all notes and interviews conducted by the monitor must be turned over by
 7    the monitor to the District Director, West Covina office, U.S. Department of
 8    Labor, along with the audit report, if requested by the District Director, West
 9    Covina office, U.S. Department of Labor.
10                 c.    If the A&J Defendants and the Acting Secretary are not able to
11    agree on a monitor, the Acting Secretary may file a motion asking the Court to
12    select the Independent Monitor.
13                 d.    The Independent Monitor shall have the ability to communicate
14    with Defendants’ employees in their primary language(s), or, shall be provided
15    with an interpreter as necessary at the A&J Defendants’ expense.
16                 e.    Defendants shall cooperate fully with the Independent Monitor,
17    including by permitting it to enter facilities where Defendants process poultry or
18    meat, or otherwise perform work, without prior notice; inspect the working
19    conditions at such facilities; inspect all books, records, and documents requested
20    by the Independent Monitor, including employee time, payroll, and personnel
21    records; and perform other duties necessary to conduct the monitoring.
22                 f.    Subject to Paragraph 22(h), if the Independent Monitor finds
23    violations of the FLSA, or regulations issued under the FLSA, that result in back
24    wages due, Defendants shall pay the wages due within 30 days and shall prepare a
25    written report concerning the violations found and payments made, and provide a
26    copy of such report to the District Director of the Wage and Hour Division’s West
27    Covina office.
28
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 1                 g.          Subject to Paragraph 22(h), if the Independent Monitor directs
 2    changes in Defendants’ policies and/or procedures, or directs Defendants to take
 3    action to comply with the FLSA or regulations issued under the FLSA, Defendants
 4    shall be required to do so promptly.
 5                 h.       Should Defendants disagree with the findings and/or directives
 6    of the Independent Monitor, Defendants shall notify the Acting Secretary in
 7    writing within ten (10) business days of receiving the disputed instruction from the
 8    Independent Monitor describing the issues in dispute and explaining the reasons
 9    why they disagree with the Independent Monitor. The Acting Secretary shall
10    thereafter make a determination. If Defendants disagree with the Acting
11    Secretary’s determination, the Acting Secretary at its discretion may present this
12    issue to the Court for adjudication.
13          23.    If any Defendant hires, retains or utilizes a third-party service
14    provider, including Defendant The Right Hire, to provide labor to process poultry
15    or meat within an establishment owned, operated or controlled by a Defendant
16    (“Defendant’s facility”), and/or otherwise to provide timekeeping or payroll
17    services with respect to those workers processing poultry or meat within a
18    Defendant’s facility, then:
19                 a.      That Defendant shall enter into a written contract with such
20    third-party requiring that the third-party affirmatively:
21                        i.         acknowledge receipt and review of the Consent
22    Judgment;
23                       ii.         agree to provide a copy of the Consent Judgment and
24    Exhibit 1 to any employees or workers who work within Defendant’s facility;
25                      iii.         agree to comply with the federal minimum wage,
26    overtime, recordkeeping, and child labor provisions of the FLSA as well as all state
27    law wage requirements;
28
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 1                       iv.          agree to screen all current and future workers to ensure
 2    that no oppressive child labor is being employed at Defendant’s facility;
 3                        v.          agree to implement and maintain a timekeeping system
 4    that accurately records the hours worked by employees consisting of the minimum
 5    requirements: employees must clock-in their start time and end time each day;
 6    employees must record their own hours and neither the third-party service provider
 7    nor Defendant shall clock-in for employees except to correct any timekeeping
 8    errors, such as when an employee fails to appropriately clock-in or out;
 9                       vi.          agree to allow Defendant access to all payroll and
10    timekeeping records it creates for employees working within Defendant’s facility;
11                      vii.          agree to comply with any investigation conducted by the
12    Acting Secretary pursuant to Section 11 of the FLSA, including freely interviewing
13    any employees or workers performing work within Defendant’s facility; and
14                      viii.         agree to quarterly monitoring per the terms set forth in
15    Paragraph 22;
16                 b.          At the A&J Defendants’ expense, the Independent Monitor
17    selected pursuant to Paragraph 22 above, shall conduct annual monitoring of any
18    payroll or labor provider to ensure that such provider’s payroll and labor practices
19    with respect to the workers processing poultry or meat are being compensated in
20    compliance with the FLSA, that no oppressive child labor is being employed, and
21    that the third-party is otherwise complying with the above terms of the contract as
22    set forth above in Paragraphs 23(a)(i) to (viii);
23                 c.           Defendants shall notify the Acting Secretary of any suspected
24    or actual violations of the FLSA which are occurring with respect to any workers
25    performing work for Defendants within three (3) business days of learning of such
26    suspected or actual violations.
27    ///
28
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 1          24.    Defendants are permanently enjoined from communicating, directly or
 2    indirectly, in any manner to any third party, such as other owners of poultry or
 3    meat processing companies, regarding whether any employee may have or may be
 4    perceived to have engaged in protected activity under the FLSA, including but not
 5    limited to any connection any employee may have with the Department of Labor,
 6    and are specifically enjoined from taking any other action to restrict or blacklist
 7    such employee from seeking or obtaining any other work.
 8          25.    Defendants have an ongoing duty to provide the Acting Secretary with
 9    access to all records required to be made, kept, or preserved under Section 11 of
10    the FLSA, including all other time, piece rate, employee, and payroll records, upon
11    request and no later than three (3) days after such request is made.
12          26.    Should Defendants maintain a video monitoring system of employees
13    and/or workers, Defendants shall immediately provide the Acting Secretary with
14    access to review this footage upon request. The requirements of this Paragraph
15    shall remain in effect for a period of at least four (4) years from the date of entry of
16    this Consent Judgment.
17          27.    Defendants have an ongoing duty to provide an earnings statement to
18    each of their employees, and ensure that any employee employed to assist in the
19    processing of poultry or meat, such as deboners, packers, cleaners, or others, each
20    time they are paid, beginning with the first paycheck issued following entry of this
21    Consent Judgment, with the following information: (1) gross wages paid to the
22    employee each workweek; (2) total hours worked each workweek; (3) a list of
23    itemized deductions from employees’ pay; (4) net wages earned; (5) the inclusive
24    start and end dates of the pay period; (6) the employee’s name and employee
25    identification number; (7) the applicable hourly rates (including straight time and
26    overtime rates) and corresponding number of hours worked at each hourly rate, or,
27    as applicable, the applicable piece rates (including the precise formula used to
28
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 1    calculate the piece rate and overtime rates) and corresponding number of pieces
 2    worked at each piece rate; (8) total straight-time wages paid; and (9) total overtime
 3    wages paid. Defendants shall produce these earnings statements to the Acting
 4    Secretary upon request and no later than three (3) days after such request is made.
 5          28.    All documents produced by Defendants as required under this
 6    Consent Judgment must be produced in an electronic, searchable format to the
 7    extent Defendants’ documents are maintained or may be generated in such a
 8    format. If a document cannot be generated in an electronic, searchable format, then
 9    Defendants shall produce the document in an electronic format with all metadata
10    intact to the extent such metadata exists. If a subject document is produced in a
11    comma-separated-values (“CSV”) file, such as an Excel spreadsheet, then the
12    documents must be produced in such format and not converted to a PDF.
13    Documents must be organized in a manner that clearly identifies the nature of the
14    documents.
15          29.    Defendants have an ongoing duty to comply with the FLSA as
16    specified above and in all other respects, including but not limited to the minimum
17    wage requirements under Section 6 of the FLSA, 29 U.S.C. § 206, including
18    compensating employees for any wait time as required under 29 C.F.R. Part 785.
19    Defendants shall also provide any “rest and recovery periods and other
20    nonproductive time” as required under California Labor Code 226.2 and
21    compensate any time donning and doffing equipment as required under 29 C.F.R.
22    Part 790; and reimburse any expenses incurred by an employee in furtherance of
23    his employer’s interests and properly reimbursable by the employer as required
24    under Section 7(e)(2) of the FLSA, 29 U.S.C. § 207(e)(2), such as expenses
25    incurred by employees in connection with the purchase or maintenance of
26    equipment, tools, clothing, and supplies required for the employee’s work.
27          ///
28
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 1          30.    Defendants, their agents, servants, and employees, and any person in
 2    active concert or participation with them, shall not in any way directly or
 3    indirectly, demand, require or accept any of the monies received by any former or
 4    current employees which have been paid under the terms of this Consent
 5    Judgment. Defendants shall not threaten or imply that adverse action will be taken
 6    against any employee because of their receipt of funds to be paid under this
 7    Consent Judgment. Violation of this Paragraph may subject Defendants to
 8    equitable and legal damages, including punitive damages and civil contempt.
 9          31.    Defendants have an ongoing duty to comply with the FLSA and
10    maintain payroll practices at any business they own, operate, or control, currently
11    and in the future, including as follows:
12                 a.     Defendants shall accurately record the information required by
13    29 C.F.R. § 516.2 in the payroll records, including, for each employee (1) all hours
14    worked by each workday and workweek, including all pre- and post-shift work
15    such as maintaining clothing, tools, and supplies, and donning and doffing; (2) the
16    rate(s) of pay for each of the hours worked during a workweek; (3) the number of
17    pieces completed by each workday and workweek, if employee is paid per piece;
18    (4) the total weekly straight-time earnings due for the hours worked during the
19    workweek; (5) the total premium pay for overtime hours; and (6) the dollar value
20    of all equipment, tools, clothing, and supplies paid for and used in or specifically
21    required for the employee’s work;
22                 b.     Defendants shall record all wages paid to employees, regardless
23    of the manner of payment, on payroll records;
24                 c.     Defendants shall not alter or manipulate time or payroll records
25    to reduce the number of hours actually worked by an employee, and Defendants
26    shall not encourage workers to under-report their hours worked; and
27
28
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 1                 d.    Defendants shall not direct supervisors, employees, or payroll
 2    preparers to falsify time or payroll records in any manner including reducing the
 3    number of hours worked by employees, and Defendants shall direct supervisors
 4    and payroll providers to encourage workers to report all hours worked.
 5          32.    If Defendants choose to calculate pay through any type of individual
 6    production-based system, such as a piece rate system, Defendants shall
 7    immediately provide the following written notice to all current piece rate
 8    employees, and all future piece rate employees upon hire (or rehire), and in a
 9    language understood by them, and shall place the notice prominently around the
10    workplace. The notice shall be translated into Spanish and any other language
11    necessary for employees to be able to read the notice, and it shall read as follows:
12       Employees who are paid on a piece rate still get overtime payments. You
13       are entitled to advance notice of any piece rate payment, including exactly
14       how the piece rate is calculated. You are entitled to advance notice if your
15       employer makes any change to the piece rate payment. You are entitled to
16       an individual piece rate and cannot be required to accept a group piece
17       rate. Your regular piece rate payment does NOT include overtime, but it
18       does include straight time pay for all hours worked. If you work more than
19       40 hours in a work week, your employer must pay you a premium for
20       overtime, above and beyond your piece rate. For example, if you worked
21       50 hours in a workweek and earned $1,000 from your piece rate work,
22       your employer must pay you $100 in overtime premium pay. This amount is
23       calculated by taking your $1,000 pay and dividing it by the 50 hours you
24       worked to get $20 per hour. $20 per hour is your regular rate. The
25       overtime premium means you must get paid 1.5 times of your regular rate.
26       For the extra 10 hours you worked that week, you should have gotten paid
27       $20 x 1.5 = $30 per hour. Since your employer paid you $20/hour, your
28
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 1       employer owes you $10 overtime premium for the 10 hours you worked
 2       past 40 hours, meaning your employer owes you 10 x $10 or $100 in
 3       overtime premium pay. Your employer must give you a pay stub that shows
 4       your weekly earnings, how those earnings were calculated, and shows all
 5       deductions. Your employer must pay you for any time that you spend
 6       putting on or removing tools and clothes you are required to wear for
 7       work, such as knives to cut chicken or gloves, robes, and hairnets for your
 8       safety and food hygiene. Lastly, your employer must pay you for certain
 9       “wait time,” such as time spent waiting for poultry or meat to arrive, time
10       spent waiting to count to count the number of boxes of poultry or meat that
11       are cut, and time spent waiting to be paid.
12          33.   The A&J Defendants agree to a rebuttable presumption that any future
13    employer or business operating at 15268 Proctor Ave, Suite A, City of Industry,
14    California 91745 shall be deemed to be the A&J Defendants’ successors for which
15    Defendants will be held personally liable for any non-compliance with the terms of
16    this Consent Judgment, and subject to any contempt remedies which this Court
17    deems appropriate, absent clear and convincing evidence otherwise.
18          34.   For purposes of contacting the Acting Secretary under the terms of
19    this Consent Judgment, Defendants shall notify:
20                Wage Hour Division, West Covina District Office
21                Attention: District Director
22                100 N. Barranca Street, Suite #850
23                West Covina, California 91791
24                                      JUDGMENT
25          35.   JUDGMENT IS HEREBY ENTERED, pursuant to Section 16(c)
26    and (e) of the FLSA, in favor of the Acting Secretary as a judgment owed to the
27    United States of America and against Defendants in the total amount of
28
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 1    $390,000.00, which includes $327,484 in disgorgement of profits associated with
 2    revenues earned from the unlawful employment of minors and the related shipment
 3    or delivery for shipment in commerce of child labor “hot goods” in violation of
 4    Section 12(a) of the FLSA, 29 U.S.C. § 212; and $62,516 in civil money penalties
 5    as a result of Defendants’ illegal employment of minors, which have been assessed
 6    and finally determined pursuant to Section 16(e) of the FLSA, 29 U.S.C. § 216(e).
 7          Pursuant to this Judgment, IT IS HEREBY ORDERED THAT:
 8          36.    The A&J Defendants shall pay the total of $380,000, representing
 9    $317,484 in unlawfully gained profits associated with their illegal employment of
10    minors and $62,516 in civil money penalties. Defendant The Right Hire shall pay a
11    total of $10,000 representing unlawfully gained profits associated with their illegal
12    employment of minors. Defendants shall pay the monies owed above within forty-
13    five (45) days of the entry of this Consent Judgment. Defendants shall make their
14    respective disgorgement payments required by this Consent Judgment online by
15    ACH transfer, credit card, debit card, or digital wallet by going to
16    https://www.pay.gov/public/form/start/77761888, or by going to www.pay.gov
17    and searching “WHD Back Wage Payment - WE Region”. Payments shall
18    reference Case Number #1993201. The A&J Defendants shall make the civil
19    money penalty payments required by this Consent Judgment online by ACH
20    transfer, credit card, debit card, or digital wallet by going to
21    https://www.pay.gov/public/form/start/77743734, or by going to www.pay.gov and
22    searching “WHD Civil Money Penalty - WE Region.”
23          37.    In the event of any default in the timely making of any payment due
24    hereunder, the full judgment amount, which then remains unpaid, plus post-
25    judgment interest at the rate of 10% per year, from the date of Defendants’ default
26    until paid in full, shall become due and payable upon the Acting Secretary’s
27    sending by ordinary mail a written demand to the last available addresses of
28
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 1    Defendants then known to the Acting Secretary with electronic copies also
 2    concurrently e-served on Defendants or, if applicable, their counsel. Upon the
 3    Acting Secretary’s request, the Court will issue an amended judgment reflecting
 4    the amounts due based on Defendant’s default.
 5          FURTHER, IT IS HEREBY ORDERED THAT
 6          38.    The filing, pursuit, and/or resolution of this proceeding with the entry
 7    of this Judgment shall not act as or be asserted as a bar to any action or claim under
 8    FLSA § 16(b), 29 U.S.C. § 216(b).
 9          39.    Each Party shall bear its own fees and other expenses incurred by such
10    Party in connection with any stage of this proceeding, including but not limited to
11    attorneys’ fees, which may be available under the Equal Access to Justice Act, as
12    amended.
13          40.    The Court shall retain jurisdiction of this action for purposes of
14    enforcing compliance with the terms of this Consent Judgment.
15    IT IS SO ORDERED
16    Dated: June 20, 2024
17                                                         _________________________
18                                                         Mark C. Scarsi
19                                                         United States District Judge
20
21
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 1                                             EXHIBIT 1
 2
                 NOTICE TO EMPLOYEES OF YOUR RIGHTS UNDER THE FLSA
 3
        There are state, local, and federal laws related to your workplace rights. The Department of
 4                      Labor (DOL) enforces the Fair Labor Standards Act (FLSA).
 5
      YOUR IMMIGRATION STATUS DOES NOT MATTER AND DOES NOT IMPACT YOUR
 6                           WORKPLACE RIGHTS
 7    Under the FLSA, your employer must pay you:
 8           1) Federal minimum wage ($7.25 per hour) for all hours worked. (Your employer may
             owe you a higher minimum wage under California or local law.)
 9           2) Overtime pay if you work more than forty hours per week.
10
      You must be paid for all work you do for your employer. This might include: cutting chicken,
11    throwing away garbage, moving chicken around the warehouse, cleaning your work station and
12    work tools, sharpening your knives, wearing or removing required clothes and tools, waiting to
      count how many boxes of chicken you have cut, waiting for chicken to arrive if your employer
13    instructs you to wait, and other activities your employer requires you to do.
14
      Your employer must correctly document and report each hour you work and all pay you receive.
15
      It is illegal for anyone to harm you because you talked to a DOL representative, participated
16    in a DOL investigation, or spoke up about your workplace rights. It is illegal for your
17    employer to take the following actions because you exercised your rights:

18           o   Scream threats at you;
             o   Reduce your work hours or your pay;
19           o   Fire you or fire any friends or relatives that work with you;
20           o   Refuse to pay you for all hours you work;
             o   Refuse to hire you, or a relative or friend of yours;
21           o   Report you to the government for deportation;
22           o   Threaten you with legal problems or threaten to use their lawyer to harm you;
             o   Make any other threat or take any harmful action against you.
23
24    It is also illegal for anybody to make you sign a document in which you promise to tell a judge or
      any representative of the DOL false information about the hours you work, pay you receive, or
25    anything else related to your FLSA rights. Any document you have signed promising to tell false
26    information to a judge or anyone else has no legal value and cannot be used against you.

27    If any of these actions occur, please immediately contact the DOL hotline at (866) 487-9243
28
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                 AVISO A LOS EMPLEADOS DE SUS DERECHOS BAJO LA FLSA
 1
          Existen leyes estatales, locales y federales relacionadas con sus derechos laborales. El
 2     Departamento de Trabajo (DOL) hace cumplir La Ley de Normas Justos De Trabajo (FLSA en
 3                                                 inglés).

 4           SU ESTATUS MIGRATORIO NO IMPORTA Y NO AFECTA SUS DERECHOS
                                    LABORALES.
 5
      Según la FLSA, su empleador debe pagarle:
 6
         1) Salario mínimo federal ($7.25 por hora) por todas las horas trabajadas. (Su empleador
 7
            puede deberle un salario mínimo más alto bajo la ley del estado de California o las leyes
 8          locales.)

 9       2) Pago de overtime por horas extras si trabaja más de cuarenta horas por semana.
      Se le debe pagar por todo el trabajo que haga para su empleador. Esto podría incluir: cortar pollo,
10    recoger huesos, mover pollo de un lugar a otro dentro de la planta, limpiar su estación de trabajo
11    y su herramienta, filar sus cuchillos, ponerse o quitarse la ropa o la herramienta requerida para
      hacer su trabajo, esperar por contar el número de cajas cortadas, esperar por el pollo si su
12    empleador le dice que tiene que esperar, y otras actividades que su empleador lo requiere hacer.
13    Su empleador debe documentar y reportar correctamente cada hora que trabaja y todos los pagos
14    que recibe.

15    Es ilegal que alguien le haga daño porque habló con un representante del DOL, participó en
      una investigación del DOL o habló sobre sus derechos ante la FLSA. Es ilegal que su
16    empleador tome las siguientes medidas porque ejerció sus derechos de FLSA:
17               o Gritarle amenazas a usted;
18               o Reducir sus horas de trabajo o la cantidad que gana;
                 o Terminarlo o terminar a un colega o familiar que trabaja con usted;
19               o Negarse a pagarle por todas las horas que trabaja;
                 o Negarse a emplear a usted, o a un familiar suyo;
20               o Reportar al gobierno su deportación;
21               o Amenazarlo con problemas legales o amenazar con usar al abogado del empleador
                   para hacerle daño;
22               o Hacer cualquier otra amenaza o tomar cualquier acción dañina contra usted.
23    También es ilegal que alguien le obligue a firmar un documento en el que promete decirle a un
      juez o a cualquier representante del DOL información falsa sobre las horas que trabaja, el pago
24    que recibe o cualquier otra cosa relacionada con sus derechos a la FLSA. Cualquier documento
25    que haya firmado con la promesa de proporcionar información falsa a un juez o a cualquier otra
      persona no tiene valor legal y no puede usarse en su contra.
26
            Si ocurre alguna de estas acciones, comuníquese inmediatamente con el DOL al:
27                                           (866) 487-9243
28
       CONSENT JUDGMENT AND PERMANENT INJUNCTION AGAINST DEFENDANTS A&J MEATS,
       PRISCILLA HELEN CASTILLO, OLIMPIA BRAN, O’BRAN LEASING COMPANY AND THE RIGHT
       HIRE, INC.
       Case No. 2:24-cv-04507-MCS-SK                                              Page ii
